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In The

Court of
Appeals

For The

First District
of Texas

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NO. 01-11-00181-CR

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JAIVIAN
GREEN, Appellant

V.

THE STATE OF TEXAS, Appellee



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On Appeal from the 228th District Court 

Harris County, Texas



Trial Court Cause No. 1258109



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MEMORANDUM
OPINION

Appellant,
Jaivian Green, has filed a motion to dismiss the appeal.&nbsp;&nbsp; The motion complies with Texas Rule of
Appellate Procedure 42.2(a).&nbsp; See Tex.
R. App. P. 42.2(a). &nbsp;We have not
issued a decision in the appeal. &nbsp;The
Clerk of this Court has sent a duplicate copy to the trial court clerk. Id.

Accordingly,
we dismiss the appeal. &nbsp;See Tex.
R. App. P. 43.2(f). &nbsp;We dismiss
any pending motions as moot.

We direct the Clerk to issue the mandate within 10 days of
the date of this opinion.&nbsp; See Tex.
R. App. P. 18.1.

PER CURIAM

Panel consists of Justices Jennings, Bland, and Massengale.

Do not publish.&nbsp;
&nbsp;Tex. R. App. P. 47.2(b).

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